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Presented to the Court by the foreman of the
Grand Jui‘y in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington.

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" *W/;L M cCooL, Clerk
BY _ R`Deputy

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

 

AT SEATTLE
UNITED STATES OF AMERICA, NO.C R 1 w "
Plainnff, ' 7 1 9 1 K SL'
V INDICTMENT
LOUIS ONG,
Defendant.
The Grand Jury charges that:
Q.Q_ULI_

(Laundering of Monetary Instruments) '

On or about February l, 2017, in King County, in the Western District of
Washington, LOUIS ONG, with the intent to conceal and disguise the nature,' location,

. source, ownership, and control, of property believed to be the proceeds of specified

unlawful activity, that is, $50,000 in United States currency, did knowingly conduct and
attempt to conduct a financial transaction affecting interstate and foreign commerce
involving property represented by a law enforcement officer, to be proceeds of specified
unlawful activity, and property used to conduct and facilitate specified unlawful activity,
to wit, distribution of controlled substances, in violation of Title 21, United States Code,
Section 84 l (a). 7 `
All in violation of Title 18, United States Code, Sections l956(a)(3)(B) and 2.

INDICTMENT/ONG - 1 / UNITED sTATEs ATTORNEY
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COUNT 2
(Laundering of Monetary Instruments)

On or about March l, 2017, in Snohomish County, in the Western District of
Washington, LOUIS ONG, with the intent to conceal and disguise the nature, location,
source, ownership, and control, of property believed to be the proceeds of specified
unlawful activity, that is, $20,000 in United States currency, did knowingly conduct and
attempt to conduct a financial transaction affecting interstate and foreign commerce
involving property represented by a law enforcement officer, to be proceeds of specified
unlawful activity, and property used to conduct and facilitate specified unlawful activity,
to wit, distribution of controlled substances, in violation of Title 21, United States Code,
Section 84 l (a).

All in violation`of Title 18, United States Code, Sections l956(a)(3)(B) and 2.

COUNT 3
(Laundering of Monetary Instruments)

On or about June 12, 2017, in Whatcom County, in the Western District of '
Washington, LOUIS ONG, With the intent to conceal and disguise the nature, location,
source, ownership, and control, of property believed to be the proceeds of specified
unlawful activity, that is, $20,000 in United States currency, did knowingly conduct and _
attempt to conduct a financial transaction affecting interstate and foreign commerce
involving property represented by a law enforcement officer, to be proceeds of specified
unlawful activity, and property used to conduct and facilitate specified unlawful activity,
to wit, distribution of controlled substances, in violation of Title Zl, United States Code,
Section 84l(a). g

All in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

COUNT 4
(Laundering of Monetary Instruments)

On or about July 7, 2017 , in King County, inthe Western District of Washington,
LOUIS ONG, with the intent to conceal and disguise the nature, location, source,

ownership, and control, of property believed to be the proceeds of specified unlawful

lNDICTMENT/ONG - 2 UNITED sTATES ATTORNEY
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activity, that is, $9,000 in United States currency, did knowingly conduct and attempt to
conduct a financial transaction affecting interstate and foreign commerce involving

property represented by a law enforcement officer, to be proceeds of specified unlawful

activity, and property used to conduct and facilitate specified unlawful activity, to wit,

distribution of controlled substances, in violation of Title 21, United States Code, Section
841 (a).
All in violation of Title 18, United States Code, Sections l956(a)(3)(B) and 2.

~ COUNT 5
(Laundering of Monetary Instruments)

On or about July 21, 2017, in King County, in the Western District of Washington,
LOUIS ONG, With the intent to conceal and disguise the nature, location, source,
ownership, and control, of property believed to be the proceeds of specified unlawful
activity, that is, $200,000 in United States currency, did knowingly conduct and attempt
to conduct a financial transaction affecting interstate and foreign commerce involving
property represented by a law enforcement officer, to be proceeds of specified unlawful
activity, and property used to conduct and facilitate specified unlawful activity, to wit,
distribution of controlled substances, in violation of Title 21, United States Code, Section
841 (a).

All in violation of Title 18, United States Code, Sections l956(a)(3)(B) and 2.

COUNT 6
(Operating an Unlicensed Money Transmission Business)

Beginning at a time unknown, but not later than December 2016, and continuing
until on or about July 21, 2017, in King County, within the Western District of
Washington, and elsewhere, the defendant, LOUIS ONG, knowingly conducted,
controlled, managed, supervised, directed, and owned all or part of an unlicensed money
transmitting business affecting interstate and foreign commerce, without an appropriate
money transmitting license in a State, to Wit, the State of Washington, where such

operation is punishable as a misdemeanor and a gross misdemeanor under State law.

INDICTMENT/ONG - 3 /~ vUNITED STATES ATToRNEY
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All in violation of Title 18, United States Code, Sections l960(b)(l)(A) and 2.
ASSET FORFEITURE ALLEGATION
The allegations contained in Counts 1-6 of this Indictment are hereby realleged
and incorporated by reference for purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 982(a)(l). f l
Upon conviction of the violations alleged in Counts 1-6 of this Indictment, the
defendant, LOUIS ONG, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a)(l), any and all of his right, title and interest in all property,
real or personal, constituting proceeds of or involved in the offenses, or all property
traceable to such property, including but not limited to the following:
a. n All Bitcoin seized from the Defendant’s Mycelium, Green Address,
Co-Pay, and Breadwallet wallets; l v
b. All U.S. currency seized from the Defendant’s rental vehicle, i.e, a
white 2017 Ford F-lSO Super Crew Cab truck, on or about July 27, 2017;
c. All U.S. currency seized from the Defendant’s safe deposit box, i.e.,v /
Box #294 located at Wells Fargo in Ferndale, Washington, on or about July 28, 2017; and
d. All U.S. currency seized from EXpresS Mail parcel EL513437218US

on or about April ll, 2017.

SUBSTITUTE PROPERTY
lf, as a result of any act or omission of the defendant, any of the property subject to
forfeiture, including the above-described property:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;

d. has been diminished in`value; or,
e. has been commingled With other property which cannot be divided
without difficulty,
INDICTMENT/oNG _ 4 uNrrED srATEs ATTORNEY

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it is the intent of the United States to seek forfeiture, pursuant to Title Zl, United States

Code, Section 853 (p), of any other property belonging to the defendant up to the value of

the forfeitable property.

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’ANNETTE L. HA
United States Attorn y

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AsslstaE nited States Attorney

 

 

 

 

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H SILVIO
ecial Assistant United States Attorney

lNDICTMENT/ONG _ 5

A TRUE BILL:

DATED: `

. (Signature of F oreperson redacted

pursuant to the policy of the Judicial
Conference ofthe United'StateS
FOREPERSON

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
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